Case 8:20-cv-00048-JVS-JDE   Document 2086-1   Filed 08/27/24   Page 1 of 7 Page
                                 ID #:181147




          EXHIBIT A
                 Case 8:20-cv-00048-JVS-JDE     Document 2086-1     Filed 08/27/24   Page 2 of 7 Page
                                                    ID #:181148

             1      MARK D. SELWYN, SBN 244180
                     mark.selwyn@wilmerhale.com
             2      THOMAS G. SPRANKLING, SBN 294831
                     thomas.sprankling@wilmerhale.com
             3      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             4      2600 El Camino Real, Suite 400
                    Palo Alto, California 94306
             5      Tel: 650.858.6000 / Fax: 650.858.6100
             6      JOSHUA H. LERNER, SBN 220755
                      joshua.lerner@wilmerhale.com
             7      WILMER CUTLER PICKERING
                    HALE AND DORR LLP
             8      1 Front Street, Suite 3500
                    San Francisco, CA 94111
             9      Tel.: 628.235.1000 / Fax: 628.235.1001
           10       AMY K. WIGMORE, pro hac vice
                     amy.wigmore@wilmerhale.com
           11       WILMER CUTLER PICKERING
                    HALE AND DORR LLP
           12       2100 Pennsylvania Ave NW
                    Washington, DC 20037
           13       Tel.: 202.663.6000 / Fax: 202.663.6363
           14       [Counsel appearance continues on next page]
           15       Attorneys for Defendant Apple Inc.
           16
                                    UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
                    MASIMO CORPORATION,                         CASE NO. 8:20-cv-00048-JVS (JDEx)
           19       a Delaware corporation; and
                    CERCACOR LABORATORIES, INC.,                APPLE’S REPLY IN RESPONSE TO
           20       a Delaware corporation,                     PLAINTIFFS’ RESPONSIVE BRIEF
                                                                IN SUPPORT OF THEIR “NOTICE
           21                          Plaintiffs,              OF CONSENT TO NOVEMBER 5,
                                                                2024 BENCH TRIAL” (DKT. 2076)
           22             v.
           23       APPLE INC.,
                    a California corporation,                   Pre-Trial Conference: Oct. 28, 2024
           24                                                   Trial: Nov. 5, 2024
                                       Defendant.
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale                        APPLE’S REPLY RE: PLAINTIFFS’ RESPONSIVE BRIEF ISO “NOTICE OF CONSENT”
and Dorr LLP
                                                                            CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE   Document 2086-1      Filed 08/27/24   Page 3 of 7 Page
                                                  ID #:181149

             1      JOSEPH J. MUELLER, pro hac vice
                     joseph.mueller@wilmerhale.com
             2      SARAH R. FRAZIER, pro hac vice
                     sarah.frazier@wilmerhale.com
             3      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             4      60 State Street
                    Boston, MA 02109
             5      Tel: 617.526.6000 / Fax: 617.526.5000
             6      NORA Q.E. PASSAMANECK, pro hac vice
                     nora.passamaneck@wilmerhale.com
             7      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             8      1225 Seventeenth Street, Suite 2600
                    Denver, CO 80202
             9      Tel.: 720.274.3152 / Fax: 720.273.3133
           10       BRIAN A. ROSENTHAL, pro hac vice
                     brosenthal@gibsondunn.com
           11       GIBSON, DUNN & CRUTCHER LLP
                    200 Park Avenue
           12       New York, NY 10166-0193
                    Tel.: 212.351.2339 / Fax: 212.817.9539
           13
                    KENNETH G. PARKER, SBN 182911
           14        Ken.parker@haynesboone.com
                    HAYNES AND BOONE, LLP
           15       660 Anton Boulevard, Suite 700
                    Costa Mesa, CA 92626
           16       Tel. 650.949.3014 / Fax: 949.202.3001
           17
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
Pickering Hale                       APPLE’S REPLY RE: PLAINTIFFS’ RESPONSIVE BRIEF ISO “NOTICE OF CONSENT”
and Dorr LLP
                                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
                 Case 8:20-cv-00048-JVS-JDE      Document 2086-1      Filed 08/27/24   Page 4 of 7 Page
                                                     ID #:181150

             1            Plaintiffs do not identify a single instance where a bench trial has been ordered
             2      after a three-week jury trial has been held on identical claims. Nor do they point to any
             3      case where a party (1) first successfully staves off a post-trial FRCP 52 motion on the
             4      grounds that the Seventh Amendment requires a particular issue to be tried to a jury and
             5      (2) later successfully demands a bench trial on that same issue. In other words, this case
             6      is far from the scenario in True Wearables. Here, Plaintiffs are both seeking to “switch
             7      [their] bet as the horses reach the home stretch,” Fuller, 47 F.3d at 1532, and in the
             8      process “playing fast and loose with the courts” as to what the Seventh Amendment
             9      requires, New Hampshire, 532 U.S. at 750-751. No authority permits this result.
           10             1. FRCP 38/39 And Fuller. Plaintiffs are wrong that FRCP 38(d)’s language
           11       barring unilateral withdrawal of a proper jury demand is inapplicable if, at some later
           12       time, a party purportedly no longer has a Seventh Amendment right to a jury trial. The
           13       Ninth Circuit does not appear to have decided the issue and Plaintiffs’ only Circuit-level
           14       authority relies on FRCP 38’s “caption” (i.e., title) and disregards its plain text. See
           15       Kramer v. Banc of Am. Sec. LLC, 355 F.3d 961, 968 (7th Cir. 2004); accord FN Herstal
           16       v. Clyde Armory, 838 F.3d 1071, 1089 (11th Cir. 2016) (adopting Kramer’s reasoning).
           17       In statutory interpretation, “[a] title does not supplant the actual text of the provision.”
           18       Dubin v. U.S., 599 U.S. 110, 124 (2023). Here, the text of the rule is unequivocal and
           19       unambiguous: “[a] proper demand may be withdrawn only if the parties consent.” FRCP
           20       38(d). There was a proper demand—and indeed, an actual jury trial pursuant to that
           21       demand—and therefore the “demand may be withdrawn only if [Apple] consent[s].”
           22             Moreover, the Ninth Circuit has directly addressed how FRCP 38 and 39 function
           23       “once trial begins” and “reliance interests come into play.” Fuller, 47 F.3d at 1532. At
           24       that point, both policy and constitutional considerations bar a party from strategically
           25       waiving their jury rights in order to “have two bites at the procedural apple.” Id. at 1531-
           26       1532. Plaintiffs’ primary attempt to distinguish Fuller (at 7)—i.e., that the government
           27       in Fuller had a “valid” jury demand before attempting to waive its Seventh Amendment
           28       rights post-trial—makes no sense. Plaintiffs, too, had a “valid” jury demand—and tried

Wilmer Cutler
                                       APPLE’S REPLY RE: PLAINTIFFS’ RESPONSIVE BRIEF ISO “NOTICE OF CONSENT”
Pickering Hale                                                              CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                                                                 1
                 Case 8:20-cv-00048-JVS-JDE       Document 2086-1       Filed 08/27/24    Page 5 of 7 Page
                                                      ID #:181151

             1      their case to a jury—before waiving legal remedies in an attempt to waive their jury
             2      rights sixteen months after the original jury trial. At no point during the weeks-long trial
             3      or post-trial briefing did they suggest otherwise. Plaintiffs also assert (at 8) that this
             4      Court should simply ignore the prior trial for purposes of Fuller because that trial ended
             5      in a 6-1 juror deadlock. But a mistrial still has consequences. For example, a court can
             6      rely on the record presented to an ultimately-deadlocked jury in granting a Rule 50(b)
             7      motion. See, e.g., Elliot v. Versa, 2019 WL 414499, at *6 (S.D. Cal. Feb. 1, 2019); Dkt.
             8      1901 at 11-12 (granting JMOL on purported VIA secret). By the same token, the prior
             9      trial remains relevant here as it gave Plaintiffs an unfair “chance to see how [their] case
           10       [went]” before they made the decision to seek a bench proceeding. Fuller, 47 F.3d at
           11       1532.1 The rules prohibit such gamesmanship.
           12             2. Judicial Estoppel. Plaintiffs’ arguments (at 9-11) regarding judicial estoppel
           13       misstate Apple’s argument. First, Apple is not relying on any positions taken by
           14       Plaintiffs prior to when it became clear a retrial was required (i.e., the scenario in Harbor
           15       Breeze and Estate of Allen). It was not until three months after the mistrial (in July
           16       2023) that Plaintiffs took the position that the Seventh Amendment barred this Court
           17       from resolving several of Apple’s equitable defenses on the existing record before a
           18       retrial could be held in front of a jury. Dkt. 1828 at 5.
           19             Second, Plaintiffs (at 10) misrepresent their own prior position on why a jury trial
           20       was necessary, as the only reasonable reading of their FRCP 52 brief is that Plaintiffs
           21       were asserting a jury trial right under CUTSA. Plaintiffs state (at 11) that “no jury trial
           22       right arises from an affirmative defense” alone. By that logic, Apple’s statute-of-
           23       limitations defense itself could not be enough to invoke the Seventh Amendment—
           24       Plaintiffs’ prior position must have rested on the assertion that CUTSA itself is a legal
           25
           26       1
                      Contrary to Plaintiffs’ assertions (at 8-9), courts retain discretion to keep a jury trial on
                    the calendar even if no Seventh Amendment rights are at issue. E.g., Martin v. Bimbo
           27       Foods Bakeries Distribution, Inc., 2016 WL 6459609, at *1-2 (E.D.N.C. Oct. 31, 2016)
                    (too late for party to withdraw jury demand once mistral occurred). At minimum, Apple
           28       submits this Court should follow Martin and refuse to treat Plaintiffs’ waiver of legal
                    remedies as transforming the retrial from a jury trial to a bench proceeding.
Wilmer Cutler
                                       APPLE’S REPLY RE: PLAINTIFFS’ RESPONSIVE BRIEF ISO “NOTICE OF CONSENT”
Pickering Hale                                                              CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                                                                  2
                 Case 8:20-cv-00048-JVS-JDE      Document 2086-1       Filed 08/27/24   Page 6 of 7 Page
                                                     ID #:181152

             1      claim. And indeed, that is precisely what Plaintiffs said. See Dkt. 1828 at 1 (arguing
             2      Plaintiffs stated a “legal claim of trade secret misappropriation”); id. at 4 (“Masimo’s
             3      CUTSA claim is a legal claim the parties submitted to the jury.”); id. at 2, 4 (referring
             4      to Plaintiffs’ “legal claim that is subject to a statute of limitations”). Even if Plaintiffs
             5      had taken the position that the statute-of-limitations defense alone was subject to the
             6      Seventh Amendment right, Apple continues to press that defense and Plaintiffs should
             7      still be estopped from arguing that it can be resolved via bench trial.
             8            Third, Plaintiffs erroneously contend (at 11) that there is no inconsistency
             9      between their FRCP 52 position and their current request for a bench trial. Not so.
           10       Plaintiffs’ prior (successful) argument was that FRCP 52 relief was improper because
           11       the Seventh Amendment required the facts underlying the parties’ dispute to be resolved
           12       by a jury on retrial. Plaintiffs now contend that there are no facts at all that need to be
           13       tried to a jury and that the issues can be decided by this Court—without even beginning
           14       to explicate what bench proceedings would entail if the jury trial were taken off calendar.
           15       The current situation is not a mere “change in circumstances” caused by outside events;
           16       it is a transparent attempt to change the structure of the case on the eve of the retrial.
           17             3. The Scope of Plaintiffs’ “Notice.” Although Plaintiffs (at 2) refer to their
           18       “Notice” as “waiving legal remedies” and state that Plaintiffs will not seek a remedy at
           19       law at the November 5, 2024 trial, Dkt. 2076, Plaintiffs make no commitment to forego
           20       appealing earlier rulings that implicate jury issues—e.g., the Court’s prior rulings on lost
           21       profits. It would be improper for Plaintiffs to avoid a jury trial now and then pursue
           22       issues (on appeal or otherwise) that could require a jury trial later. Thus, Plaintiffs not
           23       only fail to show a proper basis for transforming the retrial of a jury trial into a bench
           24       proceeding, they fail to explain the procedural implications of that transformation. This
           25       risks yet further complications and prejudice to Apple later.
           26             In sum, Plaintiffs pursued and received a jury trial, and cannot now avoid a retrial
           27       to a jury without Apple’s consent. Apple does not consent. Apple respectfully requests
           28       that the case proceed as scheduled to the jury trial in November.

Wilmer Cutler
                                       APPLE’S REPLY RE: PLAINTIFFS’ RESPONSIVE BRIEF ISO “NOTICE OF CONSENT”
Pickering Hale                                                              CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                                                                 3
                 Case 8:20-cv-00048-JVS-JDE   Document 2086-1     Filed 08/27/24   Page 7 of 7 Page
                                                  ID #:181153

             1      Dated: August 27, 2024              Respectfully submitted,
             2
             3                                          MARK D. SELWYN
             4                                          AMY K. WIGMORE
                                                        JOSHUA H. LERNER
             5                                          JOSEPH J. MUELLER
             6                                          SARAH R. FRAZIER
                                                        NORA Q.E. PASSAMANECK
             7                                          THOMAS G. SPRANKLING
             8                                          WILMER CUTLER PICKERING
                                                        HALE AND DORR LLP
             9
           10                                           BRIAN A. ROSENTHAL
                                                        GIBSON, DUNN & CRUTCHER LLP
           11
           12                                           KENNETH G. PARKER
                                                        HAYNES AND BOONE, LLP
           13
           14
           15                                           By: /s/ Mark D. Selwyn
           16                                               Mark D. Selwyn

           17
                                                        Attorneys for Defendant Apple Inc.
           18
           19
           20
           21
           22
           23
           24
           25
           26
           27
           28

Wilmer Cutler
                                    APPLE’S REPLY RE: PLAINTIFFS’ RESPONSIVE BRIEF ISO “NOTICE OF CONSENT”
Pickering Hale                                                           CASE NO. 8:20-cv-00048-JVS (JDEX)
and Dorr LLP
                                                             4
